UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


SHARON RUTSC H, as p/n/g of R.R., F.R., and on behalf
of herself; AB IGAIL SPICER as p/n/g of H.Z., M.Z.,
R.Z. ,and on behalf of herself; and ANDREW SPICER,             ATTORNEY DECLARATION
                                                               OF JOSEPHS. NACCA IN
                                                               SUPPORT OF MOTION TO
                                                               DISMISS
                                      Plaintiffs,
                         -v-                                   Civil Action No.: 6:22-cv-06369




ONT ARIO COUNTY, ONTARIO COUNTY SHERIFF' S
OFFICE, INV ESTI GATOR NATHAN BOWERMAN in
his personal capacity; and UNKNOWN ERT OFFICER in
his personal capacity,
                                 Defendants.




       JOS EPHS . NACCA, pursuant to 28 U.S.C. § 1746, declares under penalty of

perjury under the laws of the United States of America that the foregoing is true and correct:

    I. I am an attorney duly licensed to practice law in the State of New York and in the United

       States District Court, Western Di strict of New York.

   2. The Ontario County Attorney's Office re presents Defendants Ontario County, Ontario

       County Sheriffs Office, and Investigator Nathan Bowerman (the " Moving Defendants")

       in this action.

   3. T his Declaration is submitted in support of the Moving Defendants' motion, pursuant to

       Fed. R. C iv. P. 12(6)(6), for an Order dismissing the Plaintiffs' Complaint (Dkt. I) in its

       entirety as against the Ontario County Sheriffs Office and dismissing Counts II through

       XV of the Complaint as against the Moving Defendants as well as against the "Unknown
      ERT Officer" (collectively with the Moving Defendants, the ·' Defendants"). The grounds

      for this motion are set forth in the accompanying Memorandum of Law.

   4. Attached hereto as Exhibit 1 is a copy of a letter dated September 13, 2022, sent by

      Plaintiffs' counsel to Ontario County District Attorney James Ritts.           This letter is

      referenced in the Moving Defendants' Memorandum of Law.

   5. Although the "Unknown ERT Officer" has not been named               111   the Complaint and,

      accordingly, cannot appear in thi s action, the Moving Defendants nevertheless respectfully

      request that the Court dismiss Counts II and XV as against the " Unknown ERT Officer"

      on the grounds that the Complaint suffers from the same deficiencies with respect to that

      unidentified person as it does with respect to Ontario County and Investigator Bowerman.

      These grounds are also set forth in the accompanying Memorandum of Law.

   6. For reasons set forth herein and in the accompanying Memorandum of Law, the Moving

      Defendants respectfully request that the Court enter an Order di smissing the Plaintiffs'

      Complaint in its entirety as against the Ontario County Sheriff's Office and dismissing

      Counts II through XV of the Complaint as against all Defendants.



Dated September 23, 2022


                                                    Joseph S. Nacca
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